                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 1 of 6 Page ID
                                                                                         #:78853


                                                           1   CALLAHAN & BLAINE, APLC
                                                               Edward Susolik (SBN 151081)
                                                           2   Esusolik@callahan-law.com
                                                               David J. Darnell (SBN 210166)
                                                           3   Ddarnell@callahan-law.com
                                                               James M. Sabovich (SBN 218488)
                                                           4   jsabovich@callahan-law.com
                                                               3 Hutton Centre Drive, Ninth Floor
                                                           5   Santa Ana, California 92707
                                                               Telephone: (714) 241-4444
                                                           6   Facsimile: (714) 241-4445
                                                           7   Attorneys for Defendants NEWPORT TRIAL GROUP
                                                               and SCOTT J. FERRELL
                                                           8

                                                           9                       UNITED STATES DISTRICT COURT
                                                          10                     CENTRAL DISTRICT OF CALIFORNIA
                                                          11                                  SOUTHERN DIVISION
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   NATURAL IMMUNOGENICS                          CASE NO. 8:15-cv-02034-JVS-JCG
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE




                                                               CORP., a Florida corporation,                 JW Reference No.: A270221
                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CAL LA HA N-LA W.COM




                                                          13
                                                                                 Plaintiff,                  DECLARATION OF SCOTT
                                                          14                                                 FERRELL IN OPPOSITION TO
                                                                     v.                                      MOTION FOR PARTIAL
                                                          15                                                 SUMMARY ADJUDICATION ON
                                                               NEWPORT TRIAL GROUP, et al.,                  COUNT II
                                                          16
                                                                                 Defendants.
                                                          17                                                 Special Master: Hon. Andrew Guilford
                                                                                                             Judge:          Hon. James V. Selna
                                                          18
                                                                                                             Hearing Date:
                                                          19                                                 Hearing Time: 1:30 p.m.
                                                                                                             Courtroom:    10C
                                                          20

                                                          21                                                 Complaint Filed: December 7, 2015
                                                                                                             Trial Date:      November 1, 2021
                                                          22

                                                          23

                                                          24

                                                          25

                                                          26
                                                          27

                                                          28

                                                                                                       -1-
                                                                                                Ferrell Declaration
                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 2 of 6 Page ID
                                                                                         #:78854


                                                           1                         DECLARATION OF SCOTT J. FERRELL
                                                           2           I, Scott J. Ferrell, declare:
                                                           3           1.     I am an attorney licensed to practice in the States of California and
                                                           4   Texas, as well as all federal courts in California and Texas, including the Central
                                                           5   District of California. I am the founding member of Defendant Newport Trial
                                                           6   Group, now known as Pacific Trial Attorneys (“NTG”), and a practicing attorney
                                                           7   with the firm. I make this declaration in support of Defendants’ Opposition to
                                                           8   NIC’s Motion for Partial Summary Adjudication on Count II (“Motion”). I have
                                                           9   personal knowledge of the facts set forth below. If called as a witness, I could and
                                                          10   would competently testify to the matters stated below.
                                                          11           2.     NTG has always been a consumer protection firm that pursues, inter
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   alia, actions against business entities that violate laws designed to protect consumers
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CAL LA HA N-LA W.COM




                                                          13   and the public. It is not, as NIC contends, a “CLRA shop” bringing “volume
                                                          14   litigation”; indeed, the firm and I have been recognized for accomplishing many
                                                          15   groundbreaking “legal firsts” on behalf of our clients and for the benefit of the
                                                          16   general public. As just two recent examples: (1) I was the first attorney in the
                                                          17   United States to persuade a court to “find that a Defendant had violated the
                                                          18   Americans with Disabilities Act due to a website that is not accessible to individuals
                                                          19   with vision-related disabilities.” See A First: California Court Rules Retailer’s
                                                          20   Inaccessible Website Violates ADA, By Seyfarth Shaw LLP (found at
                                                          21   https://www.adatitleiii.com/2016/03/a-first-california-court-rules-retailers-
                                                          22   inaccessible-website-violates-ada/); and (2) I was the first (and to date the only)
                                                          23   attorney in the United States to serve as lead trial counsel in a class action that
                                                          24   obtained judgment ordering restitution to a class of consumers who had purchased a
                                                          25   worthless homeopathic medical product. See Plaintiffs Proved Allegations That
                                                          26   Snore        Cure   Is     Worthless,        Court      of    Appeal   Holds   (found   at
                                                          27   http://www.metnews.com/articles/2017/snore100517.htm) (citing to Rosendez v.
                                                          28   Green Pharms., No. D071073, 2017 WL 4400011, at *12 (Cal. Ct. App. Oct. 4,

                                                                                                              -1-
                                                                                                       Ferrell Declaration
                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 3 of 6 Page ID
                                                                                         #:78855


                                                           1   2017).
                                                           2         3.     In addition to the preceding, I have handled a broad range of cases on
                                                           3   both the plaintiff and defense side, including on issues of racial discrimination and
                                                           4   harassment, employment discrimination, ADA cases, real estate disputes, and
                                                           5   breach of contract actions. Every year since 2005, I have been selected by Super
                                                           6   Lawyer Magazine as a Super Lawyer. I was voted a “Top 20 Under 40” Lawyer in
                                                           7   California by the California Daily Journal, and then selected to be on the cover of
                                                           8   the Daily Journal. I have also been voted a Top 100 California Super Lawyer and a
                                                           9   Top 50 Orange County Super Lawyer, which is an award based on input from both
                                                          10   the bench and the bar. In 2006, I was lead trial counsel in a case that led to a jury
                                                          11   verdict of over $47 million in favor of my client. This is just a small sampling of
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   the successes that NTG and I have achieved on behalf of our clients.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CAL LA HA N-LA W.COM




                                                          13         4.     The Motion at issue asserts twelve “specific predicate acts of mail and
                                                          14   wire fraud that NIC submits are proven by facts not in dispute.” These consist of:
                                                          15              x four (4) phone calls made to a company potentially violating CIPA,
                                                          16                either by Baslow or by a person who later filed suit against the
                                                          17                company;
                                                          18              x two (2) emails between a CIPA tester and Baslow related to the call
                                                          19                the tester made to the company potentially violating CIPA;
                                                          20              x one (1) wire payment pursuant to the settlement of the Himalaya
                                                          21                lawsuit for its CIPA violations; and
                                                          22              x five (5) demand letters sent by NTG, one on behalf of Sam Pfleg and
                                                          23                the other four on behalf of Strataluz.
                                                          24         5.     I unequivocally dispute that any of the preceding acts involved any
                                                          25   wrongdoing or misconduct by NTG or me. I have never intended to deceive, cheat,
                                                          26   or mislead any defendant or potential defendant in connection with the twelve
                                                          27   predicate acts listed by NIC. At all times I held and still hold a genuine belief that
                                                          28   the claims asserted had merit. To be clear, I categorically deny NIC’s allegations of

                                                                                                       -2-
                                                                                                Ferrell Declaration
                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 4 of 6 Page ID
                                                                                         #:78856


                                                           1   scienter on the part of NTG and on behalf of myself. At all times relevant to NIC’s
                                                           2   Motion, I held a genuine belief that each of the underlying claims on which NIC’s
                                                           3   12 predicate matters are predicated had merit.
                                                           4         6.     As a general matter, I was not aware of all work that David Reid,
                                                           5   Victoria Knowles, Ryan Ferrell, Andrew Baslow and Wynn Ferrell performed on a
                                                           6   day-to day basis and did not oversee or instruct these people on the details of how to
                                                           7   perform tasks or interact with clients and NTG staff. Rather, I instructed them that I
                                                           8   abide by the highest ethical standards and expect them to do likewise in all of their
                                                           9   work, and then provided them with autonomy regarding their work.               NTG’s
                                                          10   attorneys and employees are trusted and expected to use their independent judgment
                                                          11   when handling clients, cases, dealing with the courts, and dealing with opposing
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   counsel.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CAL LA HA N-LA W.COM




                                                          13         7.     At all times relevant to NIC’s Motion, I genuinely believed (and
                                                          14   continue to believe) that the use of “tester” plaintiffs in wiretap cases, including
                                                          15   those brought under the California Invasion of Privacy Act, California Penal Code §
                                                          16   631, et seq., was proper, innovative, and lawful. Indeed, the respected 7th Circuit
                                                          17   Court of Appeal stated in the published case of Murray v. GMAC Mortgage that
                                                          18   “testers” who put themselves “in the way of injury” for the purpose of exposing
                                                          19   illegal conduct are “usually praised rather than vilified.”      In support of that
                                                          20   conclusion, the Court of Appeal cited to the United States Supreme Court case of
                                                          21   Havens Realty Corp. v. Coleman, 455 U.S. 363, 374-75 (1982).
                                                          22         8.     At all times relevant to NIC’s Motion, I believed, and continue to
                                                          23   believe, that a confirmatory purchase of a product by a potential plaintiff who
                                                          24   previously purchased a product (but no longer had the receipt) was not only proper
                                                          25   and lawful, but was also a “best practice” in litigation based upon my experience.
                                                          26         9.     I understand that NIC is claiming that I knew that Sam Pfleg had not
                                                          27   purchased Arnica Montana 30C by no later than March 15, 2012, apparently
                                                          28   because I was provided a copy of a receipt before sending the demand letter to

                                                                                                       -3-
                                                                                                Ferrell Declaration
                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 5 of 6 Page ID
                                                                                         #:78857


                                                           1   Nature’s Way. I have reviewed NIC’s Exhibit 65 that was cited in support of this
                                                           2   fact. This email was sent to Christine Loeza, a secretary who had responsibility for
                                                           3   saving the receipt to our files. While I was copied on this email, I did not examine
                                                           4   the details of the receipt at that time. The next day, I signed off on a demand letter
                                                           5   to Nature’s Way that I now realize had typographical errors in it (including referring
                                                           6   to our client, Sam Pfleg, as a female and referencing the Arnica Montana 30C
                                                           7   product). These errors occurred because it was a rushed revision of the January 2,
                                                           8   2012 demand letter that had previously been sent to Nature’s Way on behalf of
                                                           9   Theresa Martinez, and the letter was not properly “proofed” before it was sent.
                                                          10   However, the Complaint NTG filed in Pfleg v. Nature’s Way corrected the errors
                                                          11   and did not reference the Arnica Montana 30C product. I certainly intended no
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12   wrongdoing in that matter.
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CAL LA HA N-LA W.COM




                                                          13            10.   To be very clear: (1) I have never sent or authorized to be sent a
                                                          14   demand letter in any matter unless I believed at the time that all of the allegations in
                                                          15   the letter were correct and that the claim had merit; and (2) I have never filed or
                                                          16   authorized to be filed any Complaint unless I believed at the time that the factual
                                                          17   allegations contained in it were true and that the legal allegations were meritorious;
                                                          18   and (3) I have not ever sent or authorized to be sent any demand letter or filed or
                                                          19   authorized to be filed any Complaint that I knew or had reason to believe to be
                                                          20   false.
                                                          21            11.   I understand that NIC is also claiming that I never disclosed my
                                                          22   indirect ownership interest in Strataluz to any opposing party or opposing counsel.
                                                          23   This is false. In connection with both of the two settlements in which Strataluz
                                                          24   received any monetary settlement, I advised my opposing counsel that I had an
                                                          25   interest in the company.
                                                          26
                                                          27

                                                          28

                                                                                                        -4-
                                                                                                 Ferrell Declaration
                                                         Case 8:15-cv-02034-JVS-JCG Document 1140 Filed 05/18/21 Page 6 of 6 Page ID
                                                                                         #:78858


                                                           1         I declare under penalty of perjury under the laws of the United States of
                                                           2   America that the foregoing is true and correct.
                                                           3         Executed this 17th day of May, 2021 at Newport Beach, California.
                                                           4

                                                           5

                                                           6
                                                                                                                 _______________________
                                                                                                                    Scott J. Ferrell
                                                           7

                                                           8

                                                           9

                                                          10

                                                          11
                    3 HUTTON CENTRE DRIVE, NINTH FLOOR




                                                          12
                       A PROFESSIONAL LAW CORPORATION
CALLAHAN & BLAINE

                         SANTA ANA, CALIFORNIA 92707
                          TELEPHONE: (714) 241 -4444
                           WWW.CALLAHAN-LAW.COM




                                                          13

                                                          14

                                                          15

                                                          16
                                                          17

                                                          18

                                                          19

                                                          20

                                                          21

                                                          22

                                                          23

                                                          24

                                                          25

                                                          26
                                                          27

                                                          28

                                                                                                       -5-
                                                                                                Ferrell Declaration
